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     Christopher J. Reichman SBN 250485
1    PRATO & REICHMAN, APC
     3737 Camino del Rio South, Suite 303
2    San Diego, California 92108
     Telephone: (619) 683-7971
3    Facsimile: (619) 241-8309
4    Attorney for Plaintiff
     JONATHAN SAPAN
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8
                              UNITED STATES DISTRICT COURT
9
                            CENTRAL DISTRICT OF CALIFORNIA
10

11    JONATHAN SAPAN,                                         Case No.: 13-cv-1964 BEN (RBB)
12
                      Plaintiff,                              NOTICE OF SETTLEMENT
13
              vs.
14

15
      ZAPPER CREDIT SOLUTIONS, LLC, a
      Nevada Limited Liability Company,
16
      NEVADA STATE CORPORATE
17    NETWORK, INC., a Nevada corporation,
      GRAIG ZAPPER, an individual,
18

19                    Defendants.
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                                              Notice of Settlement
     Case 3:13-cv-01964-BEN-RBB Document 17 Filed 12/18/14 PageID.57 Page 2 of 3




1
             Comes now Plaintiff JONATHAN SAPAN, to notify the Court that all

2    parties have reached settlement of the material issues in dispute in the above
3
     captioned case. The U.S. Bankruptcy Court for the District of Nevada is scheduled
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5    to approve the settlement in a hearing to be held on January 15, 2014. We expect
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     to be able to draft and execute a stipulation of dismissal with prejudice no more
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8    than two weeks after obtaining approval of the Bankruptcy Court. We therefore
9
     request that all current hearing dates be vacated and an OSC re dismissal be set for
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     January 31, 2014.
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14   DATED: December 18, 2014                                PRATO & REICHMAN, APC
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18                                                           _/s/ Christopher J. Reichman______
19
                                                             By: Christopher J. Reichman,
                                                             Attorney for Plaintiff,
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                                                             JONATHAN SAPAN
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                                              Notice of Settlement
     Case 3:13-cv-01964-BEN-RBB Document 17 Filed 12/18/14 PageID.58 Page 3 of 3




1
                                     CERTIFICATE OF SERVICE

2    I hereby certify that the above and foregoing instrument was served upon all
3
     counsel of record in the above entitled and numbered cause on June 2, 2014.
4

5

6            __X__ Via ECF
7
     Thomas F. Gallagher (SBN 246856)
8    GALLAGHER & KRICH, APC
9    964 Fifth Avenue, Suite 202
     San Diego, California 92101
10

11
     DATED: December 18, 2014                                PRATO & REICHMAN, APC
12

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14

15
                                                             _/s/ Christopher J. Reichman______
16                                                           By: Christopher J. Reichman,
                                                             Attorney for Plaintiff,
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                                                             JONATHAN SAPAN
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                                              Notice of Settlement
